                            IN THE UNITED STATES DISTRICT COURT
                           FOR THE MIDDLE DISTRICT OF TENNESSEE
                                       Nashville Division
 L.W., by and through her parents and next
 friends, Samantha Williams and Brian
 Williams, et al.,

                 Plaintiffs,                        Civil No. 3:23-cv-00376

 and                                                Judge Richardson

 UNITED STATES OF AMERICA,                          Judge Newbern

                 Plaintiff-Intervenor,

         v.

 JONATHAN SKRMETTI, in his official
 capacity as the Tennessee Attorney General
 and Reporter, et al.,

                 Defendants.


                         NOTICE OF SUPPLEMENTAL AUTHORITY

       Private Plaintiffs respectfully provide notice of K.C. v. Individual Members of the Medical

Licensing Board of Indiana, Case No. 1:23-cv-00595-JPH-KMB, 2023 WL 4054086 (S.D. Ind.

June 16, 2023). In K.C., the Court considered the constitutionality of a law prohibiting the

provision of gender-affirming care to adolescents that is substantially identical to the Health Care

Ban, and found, among other things, that (i) the law is subject to heightened scrutiny because it

discriminates on the basis of sex, and (ii) Plaintiffs had a likelihood of success on their claims for

violations of the equal protection clause. Private Plaintiffs respectfully submit that the K.C. court’s

analysis of the law applicable to a substantially similar statute will be helpful in this Court’s

analysis of the Health Care Ban.

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Dated: June 20, 2023                            Respectfully submitted,

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                                CERTIFICATE OF SERVICE

        I hereby certify that on June 20, 2023, the undersigned filed the foregoing Notice of
Supplemental Authority via this Court’s electronic filing system, which sent notice of such filing
to the following counsel of record:

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